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 8                           IN THE UNITED STATES DISTRICT COURT
 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                  )        Case №:2:15-cr-00131 TLN
                                                )
11                  Plaintiff,                  )                    ORDER
                                                )               APPOINTING COUNSEL
12       vs.                                    )
     EDGAR EDUARDO HERRERA,                     )
13                                              )
                    Defendant.                  )
14                                              )
                                                )
15
            The defendant has, under oath, sworn or affirmed as to his financial inability to employ
16
     counsel.
17
            OFFENSE: 21 USC § 846 and 841
18
             CJA Panel attorney Scott N. Cameron is hereby appointed effective September 1, 2015,
19   the date the Office of the Federal Defender first contacted him.
20          APPOINTED COUNSEL IS ORDERED TO RETAIN THE SIGNED FINANCIAL AFFIDAVIT
21   SUPPORTING APPOINTMENT.

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     Dated: September 2, 2015
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     ORDER APPOINTING COUNSEL                        1
